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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION


 CHERYL WEIMAR,

                        Plaintiff,

 v.                                                              Case No: 5:19-cv-548-Oc-41PRL

 FLORIDA DEPARTMENT OF
 CORRECTIONS, KEITH TURNER and
 RYAN DIONNE,

                        Defendants.
                                              /

                                              ORDER

        THIS CAUSE is before the Court on Plaintiff’s Corrected Motion for Summary Judgment

 against Defendant Turner (“Turner Motion,” Doc. 82) and Plaintiff’s Motion for Summary

 Judgment against Defendant Dionne (“Dionne Motion,” Doc. 83). Defendants filed a Joint

 Response in Opposition (“Response,” Doc. 92). Plaintiff filed a Reply (“Reply,” Doc. 102). For

 reasons set forth below, the motions are denied without prejudice.

                                     I.   FACTUAL BACKGROUND

        Plaintiff filed a Civil Rights Complaint (“Complaint,” Doc. 1) pursuant to 42 U.S.C. § 1983

 and is proceeding on her Second Amended Complaint (“Second Amended Complaint,” Doc. 35).

 Plaintiff alleges Defendants Turner and Dionne violated her Eighth Amendment right to be free

 from cruel and unusual punishments when they applied force maliciously and sadistically for the

 very purpose of causing harm to Plaintiff. (Doc. 35 at 11-12). Plaintiff states that after she was

 handcuffed, Defendants delivered lethal blows which ultimately broke her back and neck. (Id. at

 8-9). As a result, Plaintiff is now a quadriplegic. (Id. at 9). Plaintiff seeks the entry of an Order



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 granting judgment against Defendants Turner and Dionne for their use of excessive force to cause

 harm to Plaintiff in violation of the Eighth Amendment. (Docs. 82, 83).

                                      II.     LEGAL STANDARDS

         Rule 56 of the Federal Rules of Civil Procedure provides that summary judgment is

 appropriate if a “movant shows that there is no genuine dispute as to any material fact and the

 movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A party asserting that a

 fact cannot be genuinely disputed must support the assertion with materials in the record, including

 depositions, documents, affidavits, interrogatory answers, or other materials. Fed. R. Civ. P.

 56(c)(1)(A).

         Rule 56(d) expressly provides that the Court may deny a motion for summary judgment if

 a non-movant shows by affidavit or declaration that “it cannot present facts essential to justify its

 opposition.” Fed. R. Civ. P. 56(d). However, the Eleventh Circuit has held that the filing of an

 affidavit is not required to invoke the protection of the rule. Snook v. Tr. Co. of Ga. Bank of

 Savannah, N.A., 859 F.2d 865, 871 (11th Cir. 1988). The party opposing the motion for summary

 judgment bears the burden of alerting the Court to any outstanding discovery, but a written

 representation by the party’s lawyer still falls within the spirit of the rule, and “[f]orm is not to be

 exalted over fair procedures.” Id. (citation omitted).

         Rule 56 requires adequate time for discovery prior to entry of summary judgment. Celotex

 Corp. v. Catrett, 477 U.S. 317, 322 (1986). Entry of summary judgment before the nonmoving

 party has had time to conduct discovery constitutes reversible error. See WSB-TV v. Lee, 842 F.2d

 1266, 1269 (11th Cir. 1988). A party has the right to challenge the factual evidence presented by

 the moving party by conducting sufficient discovery so as to determine if he may furnish opposing

 affidavits. Snook, 859 F.2d at 870. The Eleventh Circuit has cautioned that “summary judgment



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 may only be decided upon an adequate record.” Id. (citation omitted); see also Jones v. City of

 Columbus, Ga., 120 F.3d 248, 253 (11th Cir. 1997) (“The law in this circuit is clear: the party

 opposing a motion for summary judgment should be permitted an adequate opportunity to

 complete discovery prior to the consideration of the motion.”).

                                         III.   ANALYSIS

        Defendants move this Court to defer or deny the Turner Motion and Dionne Motion to

 allow time to complete discovery under Rule 56(d). Defendants state that the discovery deadline

 does not expire until June 1, 2020, and dispositive motions are not due until July 1, 2020.

 Defendants state that they have not had the opportunity to cross-examine the witnesses that

 provided the statements relied upon by Plaintiff in both the Turner and Dionne Motions, but that

 depositions have been scheduled. (Doc. 92 at 3). Further, Defendants argue that they are still

 obtaining “necessary documentation from the Department of Corrections which is critical for the

 defense of Defendants Turner and Dionne.” (Id. at 3).

        Defendants’ argument on incomplete discovery is well taken. The discovery deadline is

 over one month away. See Doc. 69 (Case Management and Scheduling Order). Plaintiff moved for

 summary judgment four months before the end of discovery. And she did so on the same day she

 filed an Unopposed Motion for Leave to take the Deposition of Inmates (Doc. 77) and a Motion

 to Compel (Doc. 78) seeking an order compelling the Florida Department of Corrections to

 “properly respond” to interrogatories, produce documents, videos, and audio recordings, and

 emails. On the day after she filed the Turner and Dionne Motions, Plaintiff filed an Unopposed

 Motion for Leave to take the Deposition of Current Inmate, Jessica Saleman, (Doc. 86), an inmate

 whose sworn statement was filed as an exhibit in support of both Motions. See Doc. 80. Plaintiff

 subsequently filed a Motion for Adverse Inferences Against Defendant Florida Department of



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 Corrections based on Turner’s and Dionne’s invocation of the Fifth Amendment privilege against

 self-incrimination at their depositions. (Doc. 88). Plaintiff has also filed a Partially Unopposed

 Motion for Leave to take Additional Depositions (Doc. 98), a Partially Unopposed Motion for

 Leave to Take the Depositions of Current Inmates (Doc. 99), and a Motion to Compel Deposition

 Dates. (Doc. 100). Following a hearing on April 16, 2020, Plaintiff’s request for leave to take

 additional depositions was granted to allow Plaintiff to take an additional eleven depositions, for

 a total of twenty-one. (Doc. 130). Plaintiff has also requested additional time to submit an expert

 report from a biomechanics engineer. (Doc. 127). It is clear that discovery is still on-going.

        Therefore, good cause exists to deny Plaintiff’s Motions for Summary Judgment under

 Rule 56(d) with leave to refile. See, e.g., Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. Classic

 Yacht Serv., Inc., No. 2:18-cv-153-FtM-99UAM, 2019 WL 1858294, at *1 (M.D. Fla. Apr. 25,

 2019) (denying summary judgment on this basis); see also Mullins-Shurling v. Sch. Bd. of Lee

 Cty., No. 2:15-cv-323-FtM-38CM, 2016 WL 3570958, at *1 (M.D. Fla. July 1, 2016); Kennedy v.

 W. Coast Dev. Corp. of Naples, Inc., No. 2:15-cv-736-FtM-38MRM, 2016 WL 614611, at *1

 (M.D. Fla. Feb. 16, 2016).

        Therefore, it is ORDERED and ADJUDGED as follows:

            1. Plaintiff’s Corrected Motion for Summary Judgment against Defendant Turner

                (Doc. 82) is DENIED without prejudice with leave to refile after the discovery

                period has closed.

            2. Plaintiff’s Motion for Summary Judgment against Defendant Dionne (Doc. 83) is

                DENIED without prejudice with leave to refiled after the discovery period has

                closed.




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        DONE and ORDERED in Orlando, Florida on April 22, 2020.




 Copies furnished to:

 Counsel of Record




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